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Case 1:18-CV-10933-RA Document 52 Filed 03/20/19 Page 1 of 2
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REOUEST FOR TIME EXTENSION
March 20, 2019
VIA ECF and Ema:'l to Abmms_NYSDCh ambers@nysd. uscourts.gov

'l`he Honorabie Justice Ronnie Abrams

US District Court, Southern District of New York
Thurgood Marshall United States Courthouse

40 Foiey Square, Courtroorn: 1506

New York, NY 10007

Re: Asensio et al. v. DiFiore et al., no. 1:18~cv~10933-RA
Dear lodge Abrams:

l am the self-represented Plaintit`f is the above referred case. The Plaintift` requests a 30 day
extension to tile his reply to the defendants’ motions to dismiss The State Dei`endants have
authorized me to represent to the Court that they take no position Defendant Emilie Marie Bosai<
finally repiied at 12:44 P.M. today that She would not agree to the extension

The defendants’ memorandums of law are combined together 72 pages long. They apply 170 legal
authorities to 13 legal different arguments Among the authorities are 20 purported legal decisions
in the state case. These do not include the 8 decisions from the Court of Appeais, or the
administrative proceedings directly with the Adrninistrative Board of the Courts and chie'l`judge.
governor and state attorney, and New York’s Judicial Institute, Ethics Advisory Comrnittee and
Commission on Judicial Conduct. Neither do they include the constitutional litigation in the
Supreme Court’s matrimonial and civil parts nor l7 decisions at the Appellate Division.

"i`he Plaintift` does his own legal research and analysis, and writing The defendants has notice of
the Plaintiff federal complaint for over 6 months before it was filed and 87 days to formulate their
motions to dismiss The Plaintiff is employed full time, is not a lawyer, is dealing with other issues
related to his daughter and this case, and other legal matters, and has only had the det`enclants’
motion to dismiss for 35 days.

Arnong the other legal matters is a action by a NYSE listed public company against a group oi`
short sellers The Plaintiff is not involved with any investment activities including short selling

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other defendants have highly experienced top their law firms representing thein. The Piaintit`l` is
represented by a sole general practitioner with no experience in securities 01‘ first amendment

 

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Case 1:18-cV-10933-RA Document 52 Filed 03/20/19 Page 2 of 2
Case 1:18-cV-10933-RA Document 51 Filed 03/20/19 Page 2 of 2

litigation As a result, this other legal case has created additional daily burdens on the Plaintit`l`
throughout this year.

The Plaintiff is being denied his inalienable parental rights, and constitutional freedoms and
liberties He is being precluded from any process in the state in the matter. Many reasonable
persons Would agree the defendants’ hostility towards the Plaintift`s and legal t`abrications are

prima facie evidence of their malice and ill will. This case presents unprecedented federal issues
The defendants Will not be prejudiced by the extension at all. The Plaintit"l" respectfully request a

30 day extension
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Marr{lel P. Asensio l ’
Plaintifi`

Distribution:
Emilie Marie Bosak

'l`he Honorable New York State Attorney General Letitia .la.rnes, Chief oi` Stal’l" and Deput_\_-' Stnte
Attorney General Attorney, Brian K. Mahanna, tasha.bartlett@ag.ny.gov

The l-lonorable Governor Andrew M. Cuorno, Governor’s Chief Counsel and Principal Legal
Advisor, Alphonso David, alphonso.david@exec.ny.gov

The Honorable Chiet` Judge Janet l\/l. DiFiore, ucs-correspondence@nycourts.go\/,l l~iead of the
Ofiice of Court Administration, John W. McConnell, legreen@nycourts. gov

Jonathan D. Conley, Esq., jonathan.conley@ag.ny.gov

Rachel Ambats, Esq., rachel.ambats.esq@gmail.com

 

App|lcation granted
SO ORDERED.

‘v

Ronnie Abrarns, U.S.D.J.
March 20, 2019

 

 

 

 

 

